                        Case 4:16-cr-00139-DPM                                                   Document 113                                                   Filed 10/16/17                          Page 1 of 9
AO 2458 (Rev. l l/16)   Judgment in u Criminal Case
                                                                                                                                                                                                                   FILED
                                                                                                                                                                                                                 U.S. DISTRICT COURT
                        Sheet I                                                                                                                                                                              EASTERN DISTRICT ARKANSAS




                 UNITED STATES OF AMERICA                                                                                                      JUDGMENT IN A CRIMINAL CASE
                                   \'.

          Kongkeomany Phimmachack, a.k.a Mike                                                                                                  Case Number: 4:16-cr-139-DPM-1

                                                                                                                                                USM Number: 30855-009

                                                                                                                                                   Lee Ellen Fowler
                                                                                                                                              _._.___,_,   ············---·-·---·"·   ......... _..
                                                                                                                                               Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(~)           1 of the Superseding Indictment

D pleaded nolo contendcrc to count(sl
   which was accepted by the court.
0 was found guilty on count(s)            ........   __   ....   .....   . ......   _--·-   .   ... .................... - .....
   atier a plea of not guilty.

The ddcndant is adjudicated guilty of these offonscs:

Title & Section                    Natur.~ of Offcns~

 21 u.s.c. §§ 846 &                  Conspiracy to Possess with Intent to Distribute and to

   841(a)(1) & (b)(1)(A)             Distribute Metharnphetamine, a Class A Felony                                                                                                                    5/5/2016



       The defendant is sentenced as provided in pages 2 through                                                                          9                      of this judgment. The sentence is imposed pmsuant to
thc Sentencing Reform Act of J984.
0 The dcfondant has been found not guilty on count(s)
!ll1 Count( s)     2-3 &5-8                                                           0 JS                     Ill an.· dismissed on thc l11(ltio11 Llf th~· l'.nited State~.
          It is ordered that the defendant must notify the United States attorney for this district within .30 days of any change of name. rcsidc1i.:e.
or mail_ing address until. ~II lines, rcstitutio.n,yost~. and special assl?ssmen.ts imposed by thisjudgme!ll arc fully paid. If ordercd to pay rcstitut 1011.
the detcndant must notify the court and Umted States attorney ol matcnal changes t11 econom1c circumstances.

                                                                                                                                    10/12/2017
                                                                                                                                   Date of Impu:;ition of fodgment




                                                                                                                                    D.P. Marst1all Jr.                                                 ~nited States District Judge
                                                                                                                                   Nai1~c alld 1iitc ;n~dge                           ·

                                                                                                                                   . ___l..f? JJ tfc~ ~01z
                                                                                                                                   Dale
                       Case 4:16-cr-00139-DPM                          Document 113                 Filed 10/16/17    Page 2 of 9
AO 2458 (Rev. 11116) Judgment in Criminal Case
                      Sheet 2 ··· ·· Imprisonment

                                                                                                               Judgment   !'age   2   of   9
DEFENDANT: Kongkeomany Phimmachack, a.k.a Mike
CASE NUMBER: 4:16-cr-139-DPM-1

                                                                     IMPIUSONMENT
         The defendant is hereby committed to the cust.ody of the Federal Bureau of Prisons to be imprisoned for a total
term of:
120 months.




    li1 The cou11 makes the following recommendations to the Bureau of Prisons:
1) that Phimmachack participate in a residential drug abuse program, or non-residential programs if he doesn't qualify for
RDAP;
2) that Phimmachack participate in mental-health counseling during incarceration, with an emphasis on gambling addiction:
3) that Phimmachack participate in educational and vocational programs during incarceration; and (continued on next page)

    bl] The defendant is remanded to the custody of the United States Marshal.

    0    The defendant shall surrender to the United States l\farshal for this district:

         0    at                                        0    a.m.       0    p.m.       on
         0    as notified by the United States Marshal.

    D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

         0    before 2 p.m. on

         D    as notified by the United States Marshal.

         0    as notified by the Probation or Pretrial Services Office.



                                                                            RETURN

 l have executed this judgment as follows:




         Defendant delivered on                                                                        to

a                  ..........................-·--------·----· . . , with a certified txipy of this judgment.
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AO 245B (Rev. I J/16) Judgment in a Criminal Case
                      Sheet 2A    Imprisonment
                                                                                             Judgment   Page   ...3 . .   or   ... 9
DEFENDANT: Kongkeomany Phimmachack, a.k.a Mike
CASE NUMBER: 4:16-cr-139-DPM-1

                                            ADDITIONAL IMPRISONMENT TERMS
 Recommendations to the Bureau of Prisons (continued from previous page):

 4) designation to FCI Forrest City, FCI Texarkana, or the available facility closest to Central Arkansas, to facilitate family
 visitation---particularly visitation with Phimmachack's son, who lives in Searcy, Arkansas.
                       Case 4:16-cr-00139-DPM              Document 113            Filed 10/16/17          Page 4 of 9
AO 245B (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet 3    Supervised Release
                                                                                                      Judgm~nt   Page         c•f
DEFENDANT: Kongkeomany Phimmachack, a.k.a Mike
CASE NUMBER: 4:16-cr-139-DPM-1
                                                        SUPERVISED RELEASE
Upon rckase from imprisonment, you will be on supcrvisl·d release for a term of:     QYf?ars,



                                                       MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
;    You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 day!i of rt'lcasl' from
     imprisonment and at least two periodic drug tests thereafter, as determined by the 1:ourt.
             D The above drug testing condition is suspended, based on the court's cktcrmination that you
                pose a low risk of future substance abuse. {check if;ipplic.ibl.:!
4.    ~You must cooperate in the collection of DNA as directed by the probation ot1icer. (1:heck 1japplicab/eJ
"     D You must comply with the requirements of the Sex Offender Registration and t\Ptilication Act i42 U.S.C. ~ 16901. et .\etf.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
         reside, work. are a student. or were convicted of a qualifying offense. (check if'applirnbh')
6.    D You must participate in an approved program for domestic violence. (check ifapp/lrn/J/e;


You must comply with the standard conditions that have been adopted by this court as well as with any other nmditions (1n the attached
page.
                       Case 4:16-cr-00139-DPM                  Document 113             Filed 10/16/17              Page 5 of 9
AO 245B (Rev. 11!16)    Judgment in a Criminal Case
                        Sheet 3A ······ Supervised Release

                                                                                                  Judgment   Page                 of
DEFENDANT: Kongkeomany Phimmachack, a.k.a Mike
CASE NUMBER: 4:16-cr~139-DPM-1

                                           STANDARD CONDITIONS OF SlJPERVISION
As part of your supervised release, you must comply with the f(lllowing standard conditions or supervision. These nmditiuns arc imposed
because they establish the basic expectations for your behavior while on supervision and identii)-' the mini.mum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

l.     You must repo11 to the probation otlice in the fodcral judicial district where you arc authorized to reside within 72 lh1urs ,1f vour
       release from imprisonment, unless the probation officer instruch you to report to a diffon:nt probation office or \Vithin a diflcrcnt time
       frame.
2.     After initially reporting to the probation office, you \.vill receive instructions from the court or the probation officer ab<lllt hm\ and
       when you must report to the probation officer, and you must repo1t to the probation otliccr as instructed.
_1.    You must not knowingly leave the federal judicial district where you are authorized to reside without first gelling permission from the
       court or the probation oflic(•r.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If.you plan to change where you live or anything about your living
       airnngements (such as the people you live with), you must notiJ)1 the probation officer at least I0 days before the change. If no ti 1·:-,,ing
       the probation officer in advance is not possible due to unanticipated circumst~mces. you must notify the probation olliccr within 72
       hours of becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation 11fficer tu
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work fi.111 time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses .vou from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or yourjob
       responsibilities), you must notify the probation officer at least l 0 days before the change. If notifying th..: probation officer at lca~t IO
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of'
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you kno\V someone has been
       convicted of a felony, you must not knowingly communicate t1r interact with that person without fast getting the pl'rrnissiun nr the
       probation oflicer.
9.     If you are arrested or questioned by a law enforcement officer. you must notify the probation ofiiccr within 72 hours.
l 0.   You must not own. possess, or have access to a fireann, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchaku~ or lasers).
l I.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the pem1ission of the court
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation oniccr may
       require you to notify the person about the risk and you must comply with that instruction. The probation of'liccr may contact the
       person and confirm that you have notified the person about the risk.
13.    You must fl)llow the instructions of the probation officer related to the conditions of :supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a writtrn copy of thi~
judgment containing these conditions. For further information regarding these conditions, sec Ovn'l'iew o/'Proh({fi1111 and Slfpenil'cd
Release Conditions, available at: www.uscomts.gm·.


Defendant's Signature                                                                                        Date
:\0 2<-15B(Rc\'. l l 'l 6)
                             Case   4:16-cr-00139-DPM
                              Judgmrnt in a Criminal Ca;,c
                                                             Document 113   Filed 10/16/17    Page 6 of 9
                             Sheet 3D   Supervised Release
                                                                                        Judgment   Page      of         9
DEFENDANT: Kongkeomany Phimmachack, a.k.a Mike
CASE: NUMBER: 4:16-cr-139-DPM-1

                                               SPECIAL CONDITIONS OF SLJPERVISUJN
 S 1) Phimmachack must participate, under the guidance and supervision of the probation officer, in a substance-abuse
 treatment program, which must include regular and random drug testing, and may include outpatient counseling,
 residential treatment, or both.
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AO 24:5B (Rev. I 1/16)   Judgment in a Criminal Case
                         Sheet 5 ···Criminal Monetary Penalties
                                                                                                            Judgment                  of
 DEFENDANT: Kongkeomany Phimmachack, a.k.a Mike
 CASE NUMBER: 4:16-cr-139-DPM-1
                                                  CRIMINAL MONETARY PENAL TIES
      The dcfon<hrnt must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                       Assessment                                                       f!.!~.~                     Restitution
                                                                                                                    - ----
 TOTALS              $ 100.00                      $                                 $ 0.00                     $



 0    The determination of restitution is deferred until                     .... An Amuuled ./111./gment in a Cri111i11al Case (!/02450 will bC' cnt,~rcd
      after such determination.

 0    The defendant must make rcstitut.ion (including community restitution) to t11e fr)llowing payees in the amount listed lwlow.

      lfthe defendant makes a partial payment, each payee shall receive an approximately proponi1lncd payment. unless SJlL'Citit·d othcrwi~c 111
                                                                                                           *
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. 3664(1 ), all nonkdcral '1ctims mu~t be paid
      before the United States is paid.

  Name of Payee                                                                   Total Loss**




 TOTALS                                                                      $                                          0.00


 O      Restitution amount ordered pursuant to plea agreement S

 D      The defendant must pay interest on restitution and a finL' of more than $2,500, unkss the rcstitut ion or fine is paid in full befnt\'. th~·
        fifteenth day after the date of the judgmell!, pursuant to 18 lJ.S.C. ~ 3612( I). All l)f the payment •.>pt ion~ on Sheet () irn1y be subject
        to penalties for delinquency and default, pursuant to 18 lJ .S.C. ~ 3612( g ).

 O      The court dden11ined that the defondant does not have the ability to pay interest and it is ordered that:

        O the interest requirement is waived for the                D fine       D restitution.
        O the interest requirement for the             D     fine    0   restitution is modified as follo\\S:

 *Justice for Victims ofTraflicking Act of20l 5, Pub. L. No. 114-22.
 **Findings for the total amount or'losses are required under Chapters I09:\. l I 0. 1l OA. an<l l 13:\ of Title IX for of!Cnscs committed on or
 alter September 13, 1994, but befi)re April 23, l 996.
AO 245B (Rev. 11/16)
                        Case   4:16-cr-00139-DPM
                        Judgment in a Criminal Case
                                                                                              Document 113                Filed 10/16/17      Page 8 of 9
                         Sheet 6 · Schedule of Pa:rments
                                                                                                                                        Judgment · Page   8   of            9
 DEFENDANT: Kongkeomany Phimmachack, a.k.a Mike
 CASE NUMBER: 4:16-cr-139-DPM-1

                                                                    SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay. payment of the total criminal monetary penalties is due as follows:

 A           Lump sum payment of$               100.00                                       due immediately. balance due

             0      not later than                     ••• ----·-··•••'°•'"••Ooo0oo00••••¥•H-•¥•••-
                                                                                                      , or
             !ill   in accordance with        O C.            0            D.               0         E, or    lill F below; or
 B     0     Payment to begin immediately (may be combined with                                               DC.       0 D, or   0 F below); or

 C    0     Payment in equal ·-·· ··--·--...... {<!.g .. week6•. mo111h~1·. quarta~vi installments of S . ............. ..... ... . _ ......... over a p.:riod of
           - -......·-···-- (e.g .. momhs ol' years}. to commence      ........__ .............. (t~.g. 30 or 60 daysi alter the date of this judgment: \\I"

 D    0     Payment in equal --·--·-----.. . . .__ (e.g .• weekly. 111on1h~r. c111ar1er~1~ installments of S ...........-....... . .........._ .. ___ over a pcri<'d of
           - -........................_ (e.g., months or years), to commence ...-....................- . . . (e.g .. 31) or 60 days) uftcr release from imprisonment to a
            te1m of supervision; or

 E     O Payment during the te1m of supervised release will commence within       ..... ..       lt'.g.. 30 111· no davs1 a tier release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that. rime: or

 F     ~     Special instructions regarding the payment of criminal monetary penalties:

              If Phimmachack can't pay the special assessment immediately, then during incarceration he must pay 50 percent
              per month of all funds available to him until the assessment is paid in full.




 Unless ~he co_t!rt ha~ expressly ordcn_:d ~>thcrwise. ifthisjudg.ment imposes imprisonment, payment of criminal monetary pcnal!ic~ is du.c during
 the pcnod ot 1mpnsonment. All cnmmal monetary penalties, except those payments made through the federal Bureau of Prisons Inmate
 Financial Responsibility Program, arc made to the clerk of the court.

 ·rhe defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 0     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (incl11di11g defendant 1111111herj, Total Amount. Joint and Several A1rn1unt.
       and corresponding payee. if appropriate.




 0     The de fondant shall pay the cost of prosecution.

 0     The defendant shall pay the following court cost(s):

 ~     The defendant shall forfeit the defendant's interest in the following property to the Unikd States:
        a New England Firearms. 410 gauge shot gun, serial number NG446080; (continued on next page)

 Pavmcnts shall be applied in the followinf order: ti) assessment. (2) restitution principal, (3) restitution interest. (4 J fine principal. (5 J line
 interest, (6) commumty restitution, (7) J\ I'A assessment, (8) penalties. and (9) costs, mcluding cost ofproscnttion and court costs.
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AO 245H (Rev. 11/ I 6)   Judgment in a Criminal Case
                         Sheet 6B ······ Sch1.-dule of Payments
                                                                                             Judgment   Page   . 9   of   ... 9 ..
DEFENDANT: Kongkeornany Phimmachack, a.k.a Mike
CASE NUMBER: 4:16-cr-139-DPM-1

                                                  ADDITIONAL FORFEITED PROPERTY
   (continued from previous page): a Topper M48, 20 gauge shot gun, serial number unknown; and any ammunition
   seized from those firearms on 5 May 2016.
